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                                                                                        June 13, 2021
                                                                                              VPC



                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
Johnnie James Wilson, Jr.,                                        CASE NUMBER

                                                                                      5:2 l-cv-00962-SB-KS
                                                  PLAINTIFF(S)
                                V.

InterContinental Hotels Group,
                                                                            ORDER RE REQUEST TO PROCEED
                                                                                 IN FORMA PAUPERIS
                                                DEFENDANT(S)


IT IS ORDERED that the Request to Proceed In Parma Pauperis is hereby GRANTED.


           Date                                                     United States Magistrate Judge


IT IS RECOMMENDED that the Request to Proceed In Parma Pauperis be DENIED for the following reason(s):
           ISi Inadequate showing of indigency                         D   District Court lacks jurisdiction
           D    Legally and/or factually patently frivolous            D   Immunity as to--                    ----
          ISi Other: The application form is not complete. Plaintiff did not answer questions re: "Other Income"
          and did not answer Question No. 8 re: debts or financial obligations.

          Comments:
          Recommend 30 days leave to submit a properly completed application.




           June 10, 2021
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                                                                           U'" L. � Mfh"-
                                                                                        �
           Date                                                       United States Magistrate Judge


IT IS ORDERED that the Request to Proceed In Parma Pauperis is hereby:

           □ GRANTED *filingPlaintiff shall have 30 days to submit a properly completed application. Failure to do so (or instead to pay the


           □X DENIED (see comments above).* IT IS FURTHER ORDERED that this case is hereby: □□ REMANDED.
                                fee) will result in dismissal.
                                                                                                               DISMISSED.



           June 13, 2021
           Date                                                        United States District Judge



CV 73 (01/15)                            ORDER RE REQUEST TO PROCEED IN FORMA PAUPERIS
